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                                                                                     United States Bankruptcy Court
                                                                                         Southern District of Texas

                                                                                            ENTERED
                     IN THE UNITED STATED BANKRUPTCY COURT                                  May 16, 2022
                       FOR THE SOUTHERN DISTRICT OF TEXAS                                Nathan Ochsner, Clerk
                                GALVESTON DIVISION

IN RE:                                             §
                                                   §       CASE NO: 22-80095
WALKER HOSPITALITY LLC,                            §
                                                   §
         Debtor.                                   §
                                                   §
                                                   §       CHAPTER 11

      ORDER DENYING APPLICATION TO PAY FILING FEE IN INSTALLMENTS

       This matter is before the Court on the Application to Pay Filing Fee in Installments (ECF

No. 2) filed by the pro se debtor. Federal Rule of Bankruptcy Procedure 1006(b) allows for an

application to pay filing fee in installments if a voluntary petition is filed by an individual. As

the debtor is not an individual, it is not allowed to pay the fee in installments.

       THEREFORE, IT IS ORDERED that the Application to Pay Filing Fee in Installments

is denied. The filing fee in full must be paid on or before May 20, 2022, or this case will be

dismissed sua sponte for the failure to pay the filing fee.

         SIGNED 05/16/2022


                                                       ___________________________________
                                                       Jeffrey Norman
                                                       United States Bankruptcy Judge




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